                                            Case 2:18-cv-00679-RFB-GWF Document 22 Filed 11/20/18 Page 1 of 3



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                                    14                          UNITED STATES DISTRICT COURT
                                    15                               DISTRICT OF NEVADA
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                                    18      Dewann Williams,                                     Case No. 2:18-cv-00679-RFB-GWF

                                    19                      Plaintiff,                           Stipulation of Dismissal of
                                    20      v.                                                   Santander Consumer USA, Inc.

                                    21      Santander Consumer USA, Inc.,
                                    22
                                                            Defendant.
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                                         STIPULATION OF DISMISSAL                           !1                  CASE NO. 2:18-cv-00679-RFB-GWF
                                            Case 2:18-cv-00679-RFB-GWF Document 22 Filed 11/20/18 Page 2 of 3



                                     1         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff
                                     2   Dewann Williams (“Plaintiff”) and Defendant Santander Consumer USA, Inc.
                                     3   (“Defendant”) stipulate to dismiss with prejudice Plaintiff’s claims against
                                     4   Defendant only in this matter. Each party will bear its own costs, disbursements,
                                     5   and attorney fees.
                                     6
                                     7   DATED this 16th day of November 2018.
                                     8
                                     9   KAZEROUNI LAW GROUP, APC
                                    10
                                         By: /s/ Michael Kind
                                    11   Michael Kind, Esq.
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                                    13   Attorneys for Plaintiff
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                                         TROUTMAN SANDERS LLP
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                                    16   By: /s/ Virginia Bell Flynn
                                         Lindsey H. Morales
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                                         Virginia Bell Flynn, Esq.
                                    18   Chad R. Fuller, Esq.
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                                         Richmond, VA 23219
                                    20   Attorneys for Santander Consumer USA, Inc.
                                    21
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                                                                                IT IS SO ORDERED.
                                    23
                                    24                                          UNITED STATES DISTRICT JUDGE
                                    25
                                                                                Dated: ______________________________
                                                                                       November 20, 2018.
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                                         STIPULATION OF DISMISSAL                           !2                  CASE NO. 2:18-cv-00679-RFB-GWF
                                            Case 2:18-cv-00679-RFB-GWF Document 22 Filed 11/20/18 Page 3 of 3



                                     1                                  CERTIFICATE OF SERVICE
                                     2          I HEREBY CERTIFY pursuant to Rule 5 of the Federal Rules of Civil
                                     3   Procedure that on November 16, 2018, the foregoing Stipulation was served via
                                     4   CM/ECF to all parties appearing in this case.
                                     5
                                     6                                             KAZEROUNI LAW GROUP, APC
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                                                                                   By: /s/ Michael Kind
                                     8                                             Michael Kind, Esq.
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                                         STIPULATION OF DISMISSAL                           !3                  CASE NO. 2:18-cv-00679-RFB-GWF
